Case 2:11-cv-06537-CCC-JSA Document 369 Filed 11/17/21 Page 1 of 1 PageID: 8168



 BOSTON         CONNECTICUT   FLORIDA   NEW JERSEY   NEW YORK   WASHINGTON, DC


                                                                                            PAUL J. HALASZ
                                                                                             Attorney at Law
                                                                                           One Jefferson Road
                                                                                    Parsippany, NJ 07054-2891
                                                                          T: (973) 966-8176 F: (973) 206-6547
                                                                                       phalasz@daypitney.com



                                                                    November 17, 2021
 VIA ECF

 Honorable Jessica S. Allen, U.S.M.J.
 U.S. District Court for the
  District of New Jersey
 M.L. King Jr., Federal Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102

               Re:    Jose Mendez v. Avis Budget Group, Inc. et al.
                      Civil Action No.: 2:11-cv-06537 (CCC) (JSA)

 Dear Judge Allen:

         We represent defendants Avis Budget Group, Inc., Avis Rent a Car System, LLC
 (collectively, “ABG”) and Highway Toll Administration, LLC (“HTA”) in the above captioned
 matter. I write with the consent of plaintiff’s counsel in response to the Court’s request for an
 update regarding the status of mediation efforts.

        The parties report that they engaged in a further mediation session yesterday, November
 16, 2021. We believe significant progress has been made in our efforts and would welcome the
 opportunity to engage in a telephonic conference with Your Honor to provide further information
 and our expectations for next steps.

               That you for your attention to this matter.

                                                                    Very truly yours,




                                                                    Paul J. Halasz
 cc:           Joseph DePalma, Esq.
               Judith Spanier, Esq.
               Jeremy Nash, Esq.
               Paul R. Marino, Esq.



 110378247.1
